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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TENNESSEE
                                WESTERN DIVISION


  ROWVAUGHN WELLS,
  INDIVIDUALLY
  and as ADMINISTRATRIX AD LITEM of
  the ESTATE of TYRE DEANDRE
  NICHOLS, deceased,
                                                          CIVIL ACTION
                                                          NO. 2:23-cv-2224
         Plaintiff,

  v.

  The CITY of MEMPHIS, a
  MUNICIPALITY; et.al.,

        Defendant.
 ______________________________________________________________________________

             DEFENDANT, DESMOND MILLS, JR.’S, STATUS REPORT
 ______________________________________________________________________________

        COMES NOW Defendant, Desmond Mills, Jr. individually, by and through his

 counsel, Clyde W. Keenan, and states as follows:



        1.   On September 21, 2023 the Court granted a stay as to the Defendant, Desmond Mills,

             Jr. and ordered counsel to submit a status report on or before November 1, 2023 and

             every sixty (60) days thereafter.

        2. The State has accepted Defendant’s plea agreement in the Federal Criminal

             proceedings and the State of Tennessee has agreed to honor the same in the State

             proceedings however sentencing has not taken place yet.

        3. There is not a scheduled sentencing hearing for Defendant, Mills, Jr., at this time.

        4. The trial date for the other stayed Defendants at this time is September 9, 2024.
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                                                       Respectfully submitted,

                                                       05370ck/71<hiciv
                                                       s/Clyde W. Keenan
                                                       __________________________
                                                       Clyde W. Keenan, #5370
                                                       KEENAN LAW & CONSULTING
                                                       6465 N. Quail Hollow, #200
                                                       Memphis, TN 38120
                                                       (901) 767-1842




                                  CERTIFICATE OF SERVICE

        I, Clyde W. Keenan, hereby certify that on July 2, 2024 I filed a copy of the foregoing

 with the Court via the Court’s ECF system, and that upon filing, a copy will be sent via the

 Court’s ECF system to all registered parties in this case.



                                                       Respectfully submitted,

                                                       05370ck/71<hiciv
                                                       s/Clyde W. Keenan
                                                       __________________________
                                                       Clyde W. Keenan, #5370
                                                       KEENAN LAW & CONSULTING
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